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                    UNITED STATES DISTRICT COURT FOR THE

                           SOUTHERN DISTRICT OF FLORIDA

                     CIVIL ACTION NO.:       23-CV-60345-RAR



       HEAD KANDY, LLC,

              Plaintiff,

       vs.

       KAYLA MARIE MCNEILL,

              Defendants.

       _______________________________/



                                  July 31, 2024

                            10:27 a.m. - 5:56 p.m.

                                  Buro Central

                       101 N.W. 8th Street, Suite 200

                               Miami, Florida 33136



               VIDEOTAPED DEPOSITION OF BRYAN FELDMAN



                Taken before Julio A. Mocega, Shorthand

         Reporter, Notary Public in and for the State of

         Florida at Large, pursuant to Notice of Taking

         Deposition filed in the above case.




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                                   EXHIBIT 4
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                                                                               2
  1                                APPEARANCES:

  2    ON BEHALF OF THE DEFENDANT:

  3    CONVERSE LAW GROUP, P.C.

  4    600 17th Street

  5    Suite 2800 South

  6    Denver, Co 80202

  7    BY:   Antonio L. Converse, Esq.

  8    ALSO ON BEHALF OF DEFENDANT:

  9    L.E. BURGESS, P.A.

 10    5966 S. Dixie Highway

 11    Suite 300

 12    Miami, Florida 33143

 13    BY:   Laura E. Burgess, Esq.

 14    ON BEHALF OF THE PLAINTIFF:

 15    BARTLETT, LOEB, HINDS, THOMPSON & ANGELOS

 16    100 N. Tampa Street

 17    Suite 2050

 18    Tampa, Florida 33602

 19    BY:   Collin Thompson, Esq.

 20    ALSO PRESENT: Javier Ordonez, Videographer

 21    PRESENT ON ZOOM: Ethan Loeb, Esq.

 22                        Gina Gazzaniga

 23                        Kayla McNeill

 24                        Carson Sadro

 25                        Jennifer Tegan


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  1                                I N D E X

  2

  3    BRYAN FELDMAN                                     PAGE

  4    By Mr. Converse                                     5

  5

  6                             E X H I B I T S

  7

  8    Defendant's Exhibit No. 1                          128

  9    Defendant's Exhibit No. 2                          137

 10    Defendant's Exhibit No. 3                          139

 11    Defendant's Exhibit No. 4                          140

 12    Defendant's Exhibit No. 5                          142

 13    Defendant's Exhibit No. 6                          147

 14    Defendant's Exhibit No. 7                          156

 15    Defendant's Exhibit No. 8                          167

 16    Defendant's Exhibit No. 9                          168

 17    Defendant's Exhibit No. 10                         170

 18    Defendant's Exhibit No. 11                         173

 19    Defendant's Exhibit No. 12                         173

 20    Defendant's Exhibit No. 13                         198

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                                                                              32
  1    that made the move from Colorado to North

  2    Carolina with the company?

  3             A.    Again, I don't recall the exact

  4    number, but approximately.

  5             Q.    Right.     Approximately.   Okay.

  6                   When the company was formed in

  7    approximately May of 2018, do you know what

  8    Miss McNeill's role was with the company?

  9             A.    She was in charge of product

 10    development, marketing and everything that

 11    happened in Colorado.       She was in charge of

 12    sales also.

 13             Q.    With regard to her role in product

 14    development, do you recall any specific tasks

 15    that she undertook for Head Kandy?

 16             A.    She designed and picked every

 17    product that we would manufacture.

 18             Q.    Do you know if she worked with

 19    anybody with regard to product development?

 20             A.    With which one?

 21             Q.    Product development.

 22             A.    Anybody?

 23             Q.    Yes.

 24             A.    Not that I recall.     After a couple

 25    of years, she worked with someone named Mindy.


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  1    meeting or a phone conversation.        Obviously it

  2    took place.

  3             Q.    Did you hear her make these

  4    statements to the social media company?

  5             A.    No.     She dealt with the social

  6    media company.       I dealt in a couple of calls,

  7    but it was her day-to-day.

  8             Q.    Okay.     So how did you learn about

  9    Miss McNeill's idea?

 10             A.    She told me.

 11             Q.    Okay.     Did you have any opinion on

 12    whether or not this social media company was

 13    adding value for Head Kandy?

 14             A.    Not that I recall.     Again, not my

 15    expertise.

 16             Q.    Do you recall disagreeing with

 17    Miss McNeill when she told you that she didn't

 18    believe the social media company was adding

 19    value for Head Kandy?

 20             A.    I don't recall.

 21             Q.    Do you know if Head Kandy

 22    ultimately severed its relationship with that

 23    social media company?

 24             A.    Yes.

 25             Q.    Do you recall why?


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  1             A.    Because she thought they were no

  2    good.

  3             Q.    Do you know when the relationship

  4    was terminated?

  5             A.    I don't recall the date.

  6             Q.    Do you recall the year?

  7             A.    No.

  8             Q.    You also mentioned that

  9    Miss McNeill was in charge of everything that

 10    happened in Colorado.

 11                   Did I get that right?

 12             A.    Yes.

 13             Q.    We've identified a few things that

 14    happened in Hollywood, being the HR -- or human

 15    resources office, and --

 16             A.    Finance maybe.

 17             Q.    -- finance --

 18             A.    Yes.

 19             Q.    -- to work with Yvelisse.

 20             A.    Uh-huh.

 21             Q.    Was there anything else that was

 22    occurring in Hollywood?

 23             A.    Hernan, in operations, working in

 24    Hollywood.

 25             Q.    Okay.


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  1               A.      I don't know.

  2               Q.      Do you know any specific

  3    activities that Miss Pincus did when she was

  4    retained by Head Kandy concerning product

  5    development?

  6               A.      It was all product development

  7    related.        So finding formulas, packaging, ways

  8    to increase our assortment and improve it.

  9               Q.      Did she have a supervisor that she

 10    had to report to?

 11               A.      I believe --

 12                       MR. THOMPSON:     Object to the form.

 13                       Sorry.

 14                       THE WITNESS:    I believe everything

 15               went through Kayla.

 16    BY MR. CONVERSE:

 17               Q.      Do you know if she did have a

 18    formal supervisor?

 19               A.      I don't recall.

 20               Q.      Was Miss Pincus still employed by

 21    Head Kandy when you -- your involvement ceased?

 22               A.      I don't believe so.

 23               Q.      Do you know why the relationship

 24    between Miss Pincus and Head Kandy was

 25    terminated?


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  1             A.    No.     I just think we were not

  2    developing new formulas and products at that

  3    time.

  4             Q.    Going back to your description of

  5    Miss McNeill ran everything that happened in

  6    Colorado, can you give me a little more

  7    specificity as to what she was required to do

  8    with regard to the Colorado operations?

  9             A.    Well, she was there.

 10             Q.    Okay.

 11             A.    So she was indirectly in charge of

 12    everything.    Everything happened under her eyes

 13    in the office in Colorado.       None of us were

 14    there.   So warehousing, hiring of employees,

 15    aside from the sales, the marketing, the

 16    product development.

 17             Q.    So she essentially managed

 18    everything in Colorado?

 19             A.    Yes.     I believe with help from

 20    Dusty, her husband.

 21             Q.    Okay.     And did she have autonomy

 22    to run it in any way that she wanted to or did

 23    she have to report to somebody?

 24             A.    Ideally she would report.       And I

 25    wouldn't say she reported.       She informed us.


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  1    And like I said, we trusted her with

  2    everything.     So when something happened, she

  3    would inform us, I did this or I did that.         So

  4    she did inform us of the decisions that she

  5    took, but she took those decision.

  6             Q.     And when you say "inform us," who

  7    are you referring to?

  8             A.     Me.

  9             Q.     Okay.   But she didn't need your

 10    authority to make any decisions when it came to

 11    management of the Colorado operations?

 12             A.     I think she felt comfortable

 13    getting our approval.      And like I said, most of

 14    my relationship with Kayla, because of the high

 15    level of trust, was, Bryan, I'm going to do

 16    this, and the answer was, if you think that's

 17    right, do it.     She was there.

 18             Q.     With regard to that high level of

 19    trust during the time that you worked with

 20    Miss McNeill, did you ever feel that she

 21    violated that high level of trust between the

 22    two of you?

 23             A.     Towards the end.

 24             Q.     And when you say "towards the

 25    end," are you referring to right before


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